 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1599 Filed 03/03/21 Page 1 of 49

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION

UNITED STATES OF AMERICA, CRIMINAL NO. 19-cr-20626

HON. NANCY G. EDMUNDS
Vv. 18 U.S.C. § 371 (Conspiracy to

Defraud the United States and Violate
the Clean Air Act);

D-1 EMANUELE PALMA, 42 U.S.C. § 7413 (Violations of the

D-2 SERGIO PASINI, AND Clean Air Act);

D-3 GIANLUCA SABBIONI, 18 U.S.C. § 1349 (Conspiracy to

Commit Wire Fraud);
18 U.S.C. § 1001 (False Statements);
Defendants. ; and 18 U.S.C. § 2 (Aiding and
Abetting)
/
FIRST SUPERSEDING INDICTMENT

The Grand Jury charges that:
GENERAL ALLEGATIONS

At all times relevant to this First Superseding Indictment:
I. RELEVANT INDIVIDUALS AND ENTITIES

A. Relevant Companies

1. Fiat Chrysler Automobiles N.V. (“FCA NV”) was a motor vehicle

manufacturer based in Turin, Italy. FCA US LLC, formerly Chrysler Group LLC,
-based in Auburn Hills, Michigan, and FCA Italy S.p.A., based in Turin, Italy, were
both wholly owned subsidiaries of FCA NV (collectively, “FCA”).

2. FCA’s business was to design, engineer, manufacture, and sell motor

vehicles worldwide, including in the United States. FCA’s automotive brands

—
—S)

FILED USDG - CLRK DET
2091 MAR 9 pu: 41

 
 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1600 Filed 03/03/21 Page 2 pr 49

included, among others, Fiat, Chrysler, Ram, and Jeep.

3. VM Motori S.p.A. (“VM”) was a diesel engine manufacturing company
based in Cento, Italy, with offices in the United States, in Auburn Hills, Michigan.
Beginning in 2010, FCA owned 50% of VM. Beginning in 2013, VM was a wholly

owned subsidiary of FCA.

B. The Defendants

4. From in or about 2007 until in or about June 2016, defendant
EMANUELE PALMA worked for VM. From in or about 2012 until in or about
June 2016, PALMA was a Diesel Calibration Manager based in Auburn Hills,
Michigan. PALMA led a team of engineers that developed and calibrated diesel
engines for use in FCA’s vehicles. From in or about June 2016 through the present,
PALMA worked directly for FCA as a Diesel Drivability and Emissions Senior
Manager.

5. From in or about 1988 until in or about March 2014, defendant
SERGIO PASINI worked for VM. PASINI was a head calibration engineer,
based in Cento, Italy, who directly supervised defendant PALMA. PASINI
managed the development of controls and calibrations associated with diesel engines
for use in FCA’s vehicles. From in or about April 2014 through the present,

PASINI worked directly for FCA Italy S.p.A., including as the Cento Operations

Lead.
 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1601 Filed 03/03/21 Page 3 of 49

6. From in or about 1991 until in or about March 2014, defendant
GIANLUCA SABBIONI worked at VM. SABBIONI was a technical director,
based in Cento, Italy, who directly supervised defendant PASINI. SABBIONI
reported directly to the CEO of VM. SABBIONI oversaw the development of
diesel engines that were used by FCA. From in or about April 2014 through the
present, SABBIONI worked directly for FCA Italy, S.p.A., including as the Diesel
Testing Manager.

C. FCA’s Diesel Vehicles Sold in the United States

7. Beginning in at least 2010, FCA started a program to develop a new
3.0-liter diesel engine for use in FCA’s Jeep Grand Cherokee and Ram 1500 vehicles
that would be sold in North America, including in the United States.

8. Between 2010 and continuing to at least 2017, FCA worked with VM
to develop and calibrate the new 3.0-liter diesel engine, and to obtain regulatory
approval to sell the new diesel vehicles in the United States.

9. Beginning in 2013, FCA sold, offered for sale, introduced into
commerce, delivered for introduction into commerce, and imported into the United
States (collectively, “sold in the United States”) the following vehicles with the new
3.0-liter diesel engine (the “Subject Vehicles”):

a. Model Years 2014-2016 Jeep Grand Cherokee; and

b. Model Years 2014-2016 Ram 1500.

 
 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1602 Filed 03/03/21 Page 4 of 49

10. During both the design phase and the marketing phase of the Subject
Vehicles, FCA represented to FCA’s Regulators and potential customers that the
Subject Vehicles met the relevant United States regulatory standards, including
regulatory standards governing the emissions of pollutants.

D. FCA’s Regulators in the United States

The Environmental Protection Agency

 

11. Nitrogen oxides or “NOx” are a family of poisonous gases that form
when diesel or other fuels are burned at high temperatures. Motor vehicles using
diesel engines may produce and emit NOx during normal vehicle operation.

12. The Environmental Protection Agency (“EPA”) was an independent
agency of the United States charged with implementing and enforcing standards for
air quality, water quality, and individual pollutants, including NOx.

13. The Clean Air Act and its implementing regulations (collectively, “the
Clean Air Act”), were designed to protect human health and the environment by,
among other things, reducing emissions of pollutants from new motor vehicles.
The Clean Air Act required the EPA to promulgate standards for emissions of
pollutants from new motor vehicles, including NOx. |
14. In 1998, the United States established new federal emissions standards

that would be implemented in separate steps, or Tiers. Tier IJ emissions standards,

including for NOx emissions, were significantly stricter than Tier I. For light-duty

 
 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1603 Filed 03/03/21 Page 5 of 49

vehicles, the regulations required manufacturers like FCA to begin to phase in
compliance with the new, stricter Tier IT NOx emissions standards in 2004, and
required manufacturers like FCA to fully comply with the stricter standards’ for
model year 2007.

15. The Clean Air Act prohibited manufacturers of new motor vehicles
from selling, offering for sale, introducing or delivering for introduction into
commerce, or importing (or causing the foregoing with respect to) any new motor
vehicle unless the vehicle or engine (a) complied with emissions standards, including
NOx emissions standards, and (b) was issued an EPA certificate of conformity
(“COC”) as required by the Clean Air Act. |

16. The EPA used a series of federal test procedures (hereinafter, the
“federal test procedures”) to measure both tailpipe emissions of NOx and other
pollutants, as well as fuel economy for new motor vehicles offered for sale in the
United States. During these federal test procedures — commonly referred to as
driving “cycles” — motor vehicles would be placed on a device called a chassis
dynamometer, which allowed the motor vehicle engine to run through simulated
driving conditions while tailpipe emissions and fuel economy were tested. Each
driving “cycle” was generally designed to simulate certain types of driving
conditions, and to assess emissions and fuel consumption under those conditions.

The EPA permitted manufacturers like FCA to conduct the required federal test
 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1604 Filed 03/03/21 Page 6 of 49

procedures for new vehicles themselves, and to submit the certified results of those
tests or driving “cycles” as part of their application for a COC.

17. Manufacturers like FCA were required to include information about the
certified EPA results of the federal test procedures in a label on the window of new
vehicles when they were offered for sale to the public. Among other things, the
label stated that the vehicles were “manufactured to meet specific United States
requirements” and contained “EPA/DOT Fuel Economy and Environment”
information, including the Subject Vehicles’ EPA certified fuel economy ratings and
emissions information, which were determined using EPA federal test procedures.

18. Under the Clean Air Act, manufacturers like FCA were required to
submit an application for a COC to the EPA for each model year (“MY”), and for
each test group of vehicles that it intended to sell in the United States. The
application was required to be in writing, to be signed by an authorized
representative of the manufacturer, and to include the results of testing done pursuant
to the published federal test procedures that measure NOx emissions. |

19. In addition, manufacturers like FCA were required to include in the
application descriptions of the engine, emissions control systems, and fuel system
components, including a detailed description and justification for each Auxiliary
Emission Control Device (“AECD”) installed in the vehicle. An AECD was

defined under the Clean Air Act as “any element of design which senses temperature,

 

 
 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1605 Filed 03/03/21 Page 7 of 49

vehicle speed, engine RPM, transmission gear, manifold vacuum, or any other
parameter for the purpose of activating, modulating, delaying, or deactivating the
operation of any part of the emission control system.”

20. Under the Clean Air Act, if the EPA in reviewing the application for a
COC, determined that an AECD “reduced the effectiveness of the emission control
system under conditions which may reasonably be expected to be encountered in
normal vehicle operation and use,” and that (1) it was not substantially included in
the federal test procedure, (2) the need for the AECD was not justified for protection
of the vehicle against damage or accident, or (3) it went beyond the requirements of
engine starting, the AECD was deemed a “defeat device.” The EPA would not
issue a COC for motor vehicles equipped with defeat devices.

21. After receiving a Coc, manufacturers like FCA could still be required
to submit to the EPA a description of any “running changes” made during the
manufacturing of any certified vehicle, which included changes in vehicle or engine
configuration, equipment, or calibration, which were made by the manufacturer in
the course of motor vehicle or motor vehicle engine production. If the EPA
determined that the vehicles affected by the “running change” did not meet the
applicable standards of the EPA, the EPA could notify the manufacturer to rescind

the addition or change immediately upon receipt of the notification.
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1606 Filed 03/03/21 Page 8 of 49

The California Air Resources Board

22. As part of the process for obtaining approval to sell new vehicles,
manufacturers like FCA often worked in parallel with the EPA and the California
Air Resources Board (“CARB”) (collectively, “FCA’s Regulators”). CARB issued
its own certificates, called Executive Orders, for the sale of motor vehicles in the
State of California. In order to obtain an Executive Order from CARB and sell ears
in the State of California, manufacturers like FCA were required to satisfy the
standards set and enforced by the State of California.

23. In addition to demonstrating compliance with federal emissions
standards, manufacturers like FCA were also required to demonstrate that their light-
duty vehicles were equipped with an on-board diagnostic (“OBD”) system capable
of monitoring all emissions-related systems or components. Because CARB’s
OBD standards were at least equal to the federal OBD standards that were enforced
and set by the EPA, manufacturers like FCA could demonstrate compliance with
federal OBD standards by demonstrating compliance with CARB’s OBD standards.
CARB reviewed applications from manufacturers like FCA to determine whether
their OBD systems were in compliance with California OBD standards, and CARB’s
conclusion would be included in the application manufacturers submitted to the

EPA.

 
 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1607 Filed 03/03/21 Page 9 of 49

E. FCA’s Applications for the Subject Vehicles

24. Between 2013 and continuing through 2016, FCA prepared and
submitted applications for COCs to the EPA, and applications for Executive Orders
to CARB (collectively, the “A pplications”), in order to obtain authorization to sell
each of the Subject Vehicles in the United States.

25. FCA’s Applications to the EPA for the Subject Vehicles were
accompanied by the following statement signed by an FCA representative:

Chrysler Group LLC states that any element of design, system, or
emission control device installed on or incorporated in Chrysler Group
LLC new motor vehicles or new motor vehicle engines, for the purpose
of complying with standards prescribed under Section 202 of the Clean
Air Act, will not, to the best of Chrysler Group LLC’s information and
belief, cause the emission into the ambient air of pollutants in the
operation of its motor vehicles or motor vehicle engines which cause or
contribute to an unreasonable risk to public health or welfare except as
specifically permitted by the standards prescribed under Section 202 of
the Clean Air Act. Chrysler Group LLC further states that any element
of design, system, or emission control device installed on or
incorporated in Chrysler Group LLC’s new motor vehicles or new
motor vehicle engines, for the purpose of complying with standards
prescribed under Section 202 of the Clean Air Act, will not, to the best
of Chrysler Group LLC’s information and belief, cause or contribute to
an unreasonable risk to public safety.

The motor vehicles were tested in accordance with good engineering
practice to ascertain that such test vehicles will meet with requirements
for the useful life of the vehicle in those situations where Chrysler
Group LLC had a reasonable basis for suspecting either an unsafe
condition or the emission of noxious or toxic matter.
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1608 Filed 03/03/21 Page 10 of 49

Chrysler Group LLC further states to the best of its knowledge and
belief the test vehicles, with respect to which data are submitted, were
tested in accordance with the applicable test procedures, meet the
requirements of such tests, and, on the basis of such tests, conform to
the requirements of the regulations.

26. Based on the representations made by FCA in the Applications for the

‘Subject Vehicles, including FCA’s representations that all AECDs had been

disclosed to FCA’s Regulators, FCA’s Regulators issued COCs and Executive
Orders that allowed FCA to sell the Subject Vehicles in the United States.

F. The Primary Emissions Control Systems Used on the Subject
Vehicles

27. Diesel-fueled motor vehicles often use a combination of emissions
control systems to comply with the relevant emissions standards. The two primary
emissions control systems used by FCA on the Subject Vehicles to control NOx
emissions were an engine control system called “Exhaust Gas Recirculation,” or
“EGR,” and an after-treatment system called Selective Catalytic Reduction, or
“SCR.”

28. EGR systems work to reduce NOx emissions by recirculating a portion
of the exhaust gas back to the engine’s combustion chamber, which lowers both the
combustion temperature and the oxygen concentration in the chamber, and thereby
reduces the formation of NOx in the engine.

29. Asa general principle, an increase in the EGR rate will reduce NOx

formation in the engine, but will also reduce fuel economy, while a reduction in the

10 |

 

 
 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1609 Filed 03/03/21 Page 11 of 49

 

EGR rate will increase NOx formation in the engine, but will also have the benefit
of increasing fuel economy.

30. SCR after-treatment systems work to reduce NOx emissions by
removing NOx from the exhaust after combustion, but prior to emission of exhaust
from the tailpipe of the motor vehicle. SCR systems inject an ammonia solution
into the exhaust stream at a calibrated dosing rate in order to produce a chemical
reaction to reduce NOx to nitrogen and water.

31. The ammonia solution used by FCA in the Subject Vehicles’ SCR
system was known as diesel exhaust fluid (“DEF”), urea, or by its trade name,
AdBlue. In the Subject Vehicles, the DEF used in the SCR system was stored in a
tank, and when the SCR system used up the available DEF, the owner of the vehicle
would need to refill the tank with additional DEF.

32. Asa general principle, an increase in the DEF dosing rate will remove
more NOx from the exhaust stream, but also increase the SCR system’s consumption
of DEF, while a decrease in the DEF dosing rate will remove less NOx from the
exhaust stream, but also have the benefit of reducing the SCR system’s consumption
of DEF.

Controlling the EGR Rate on the Subject Vehicles

33. During the design of the diesel engine used in the Subject Vehicles,

PALMA, PASINI, SABBIONI, and others calibrated and caused to be calibrated a

11
 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1610 Filed 03/03/21 Page 12 of 49

software feature known as “T_Eng” to control the engine’s EGR rate. By using
T_Eng and other methods to control the engine’s EGR rate, PALMA, PASINI,
SABBIONIL, and others decided when and under what conditions the engine would
produce higher NOx emissions with higher fuel economy, and when and under what
conditions the engine would produce lower NOx emissions with lower fuel
economy.

Controlling the SCR Dosing Rate on the Subject Vehicles

34. Also during the design of the diesel engine used in the Subject Vehicles,
PALMA, PASINI, SABBIONI, and others calibrated and caused to be calibrated
software features known as “Standard Dosing” and “Online Dosing” to control the
SCR system’s DEF dosing rate. ‘These two different dosing modes were calibrated
based on judgments made by PALMA, PASINI, SABBIONI, and others involved
in the development of the engine. By using two different dosing modes to control
the DEF dosing rate, PALMA, PASINI, SABBIONI, and others decided when and
under what conditions the SCR system would produce higher NOx emissions with
reduced DEF consumption, and when and under what conditions the SCR system
would produce lower NOx emissions with higher DEF consumption.

Il. THE SCHEME
A. Overview of the Scheme

35. From in or around at least December 2011 and continuing through in or

around at least April 2017, PALMA, PASINI, SABBIONI, and others, known and

12
 

 

T

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1611 Filed 03/03/21 Page 13 of 49

unknown to the Grand Jury, did knowingly, intentionally, and willfully combine,
conspire, and confederate, and did agree, to mislead FCA’s Regulators and potential
customers by making and causing others to make false and misleading
representations about (a) the design, calibration, and function of the emissions
control systems used on the Subject Vehicles, and (b) the emissions of pollutants
from the Subject Vehicles.

B. Purpose of the Scheme

36. The purpose of the scheme was for PALMA, PASINI, SABBIONI,
and their co-conspirators to (a) make and cause others to make false and misleading
representations to FCA’s Regulators in order to obtain regulatory approval to sell
the Subject Vehicles in the United States; (b) make and cause others to make false
and misleading representations to FCA’s customers and potential customers in an
effort to increase sales and promote the Subject Vehicles; and (c) enrich themselves
through the continued receipt of compensation and other benefits..

C. Description of the Scheme

37. Inorder to mislead FCA’s Regulators and potential customers about (a)
the design, calibration, and function of the emissions control systems used on the
Subject Vehicles, and (b) the emissions of pollutants from the Subject Vehicles,
PALMA, PASINI, SABBIONI, and their co-conspirators used a variety of manner

and means to accomplish their unlawful purpose. As set forth below, PALMA,

13

 
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1612 Filed 03/03/21 Page 14 of 49

 

PASINI, SABBIONI, and their co-conspirators purposely calibrated and caused to
be calibrated the EGR and SCR systems on the Subject Vehicles to produce less
NOx emissions on the federal test procedures than when the Subject Vehicles were
being driven by FCA’s customers in the real world. PALMA, PASINI,
SABBIONI, and their co-conspirators then engaged in deceptive and fraudulent
conduct to conceal the emissions impact and function of the emissions control
systems from FCA’s Regulators and potential customers by (a) submitting false and
misleading Applications to FCA’s Regulators, (b) making false and misleading
representations to FCA’s Regulators both in-person and in response to written
requests for information, and (c) causing false and misleading representations to be
made to potential customers about the Subject Vehicles, including that the Subject
Vehicles were equipped with fuel efficient “clean EcoDiesel engine[s]” that reduced
emissions, and were environmentally-friendly.

38. First, PALMA, PASINI, SABBIONI, and their co-conspirators
purposely calibrated and caused to be calibrated the emissions contro! system to
produce (a) lower NOx emissions under conditions when the Subject Vehicles would
be undergoing testing on the federal test procedures or driving “cycles,” and (b)
higher NOx emissions under conditions when the Subject Vehicles would be driven
in the real world, and not subjected to testing on the federal test procedures or driving

“cycles.”

 

14

 
 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1613 Filed 03/03/21 Page 15 of 49

39. By calibrating the emissions control system on the Subject Vehicles to
produce lower NOx emissions while the vehicles were on the driving “cycle,” and
higher NOx emissions when the vehicles were off the driving “cycle,” or “off cycle,”
PALMA, PASINI, SABBIONI, and their co-conspirators purposely misled FCA’s
Regulators by making it appear that the Subject Vehicles were producing less NOx
emissions than when operated in real world driving conditions.

40. With respect to the EGR system used in the Subject Vehicles, PALMA,
PASINI, SABBIONI, and their co-conspirators calibrated and caused to be
calibrated the T_Eng software to lower NOx emissions by increasing the EGR rate
when the vehicles were being tested for emissions on the federal driving “cycle.”
Conversely, when the Subject Vehicles were undergoing other portions of the federal
test procedures, such as when the vehicles were being tested for fuel economy, or
when the Subject Vehicles were “off cycle,” i.e., not undergoing federal testing but
instead being driven by FCA’s customers, PALMA, PASINI, SABBIONI, and
their co-conspirators increased the NOx emissions of the Subject Vehicles by using
the T_Eng software and other methods to lower the EGR rate.

41. . Moreover, PALMA, PASINI, SABBIONI, and their co-conspirators
purposely lowered the EGR rate using the T_Eng software during the portion of the
federal test procedures that measured fuel economy in order to obtain a favorable

fuel economy rating from FCA’s Regulators and make the Subject Vehicles more

15

 
 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1614 Filed 03/03/21 Page 16 of 49

attractive to FCA’s potential customers, while also passing the emissions tests.
PALMA, PASINI, SABBIONLI and their co-conspirators referred to the manner in
which they manipulated the EGR rate using the T_Eng software as “cycle detection”
and “cycle beating.” Without the “cycle beating” use of the T_Eng software, the
Subject Vehicles were unable to pass the emissions portions of the federal testing
procedures and also receive a fuel efficiency rating that could be marketed to FCA’s
potential customers as “best-in-class.”

42. With respect to the SCR system used in the Subject Vehicles, PALMA,
PASINI, SABBIONI, and their co-conspirators calibrated and caused to be
calibrated the SCR system to produce lower NOx emissions by increasing the DEF
dosing rate when the vehicles were being tested for emissions on the federal driving
“cycle.” Conversely, when the Subject Vehicles were “off cycle,” i.e., not
undergoing federal testing but instead being driven by FCA’s customers, PALMA,
PASINI, SABBIONI, and their co-conspirators designed the Subject Vehicles to
emit higher levels of NOx by reducing the DEF dosing rate. PALMA, PASINI,
SABBIONI, and their co-conspirators purposely reduced the DEF dosing rate “off
cycle” in order to increase the number of miles the Subject Vehicles could be driven
before the DEF tank would need to be refilled, in an effort to make the vehicles more
attractive to FCA’s potential customers, while also passing the emissions tests.

PALMA, PASINI, SABBIONI, their co-conspirators, and others, referred to the

 
 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1615 Filed 03/03/21 Page 17 of 49

increased DEF dosing rate when the Subject Vehicles were “on cycle” as “Standard
Dosing,” and the reduced DEF dosing rate when the Subject Vehicles were “off
cycle” as “Online Dosing.”

43. Second, because PALMA, PASINI, SABBIONI, and their co-
conspirators knew that their decision to calibrate the emissions control system used
on the Subject Vehicles to perform differently “on cycle” versus “off cycle” would
be subjected to significant scrutiny by FCA’s Regulators, PALMA, PASINI,
SABBIONI, and their co-conspirators made and caused others to make false and
misleading representations to FCA’s Regulators in order to ensure that they obtained
regulatory approval to sell the Subject Vehicles in the United States.

44. Specifically, because disclosure of these emissions control strategies
carried a risk that FCA’s Regulators would not agree that these strategies, and the
resulting increase in NOx emissions, were justified under the relevant regulations,
PALMA, PASINI, SABBIONI, and their co-conspirators concealed that they had
calibrated and caused to be calibrated the EGR rate and DEF dosing rates on the
Subject Vehicles to perform differently “on cycle” versus “off cycle.” PALMA,
PASINI, SABBIONI, and their co-conspirators also concealed that they calibrated
and caused to be calibrated the emissions control systems to increase emissions
under conditions that they believed would make the Subject Vehicles more attractive

to FCA’s potential customers, i.e., by increasing fuel economy and reducing the SCR

17 |

 
EEE
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1616 Filed 03/03/21 Page 18 of 49

system’s DEF consumption.

45. In order to prevent FCA’s Regulators from reviewing and
understanding the true impact of the emissions control system used on the Subject
Vehicles, PALMA, PASINI, SABBIONI, and their co-conspirators engaged in
deceptive and fraudulent conduct, including (a) concealing from FCA’s Regulators
their manipulation of EGR rates and their use of two different DEF dosing modes,
(b) making false and misleading representations to FCA’s Regulators in the
Applications submitted for the Subject Vehicles, and (c) making false and
misleading representations to FCA’s Regulators during in-person meetings that were
held for the purpose of discussing the emissions control system used in the Subject
Vehicles.

46. Third, PALMA, PASINI, SABBIONI, and _ their co-conspirators
deceived and caused others to deceive FCA’s customers and potential customers
through claims that the Subject Vehicles had “clean EcoDiesel engines,” and that
the Subject Vehicles were fully approved and certified by FCA’s Regulators, when
they knew in reality that FCA’s Regulators had authorized the sale of the Subject
Vehicles, certified their fuel efficiency ratings, and approved the emissions control
system used on the Subject Vehicles based, in part, on the false and misleading
representations PALMA, PASINI, SABBIONI, and their co-conspirators made and

caused others to make in the Applications.

18
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1617 Filed 03/03/21 Page 19 of 49

Deceptive and Fraudulent Conduct to Conceal the Function of T Eng and the
Emissions Impact of EGR Rate Changes

47. After introducing T_ Eng as a “cycle detection” strategy into the design
of the Subject Vehicles, PALMA, PASINI, SABBIONI, and their co-conspirators
began to discuss potential false and fraudulent excuses they could use with FCA’s
Regulators to justify the T_Eng function if it were disclosed during the Application
process. For example, in January 2012, a co-conspirator emailed PALMA,
SABBIONI, PASINI, their co-conspirators, and others about T_Eng, writing,
“Surely our approach will not be accepted by CARB because [it] is clearly aimed at
cycle recognition. The[] only way to use it is to justify it as an aid for proper engine
performance, e/g/. for cold-start or, anyway, during warmup.”' SABBIONI
agreed, writing back that “[c]learly, t_engine, as is, seems to be a cycle recognition.
Instead, I think that it could be justified as an optimization of engine operation during
warm-up.” SABBIONI then admonished PALMA, PASINI, their co-
conspirators, and others to “not call it cycle recognition, not even among us.”

48. Approximately one month later, PALMA, PASINI, and their co-
conspirators discussed using another false excuse with FCA’s Regulators to justify
T Eng — that the EGR rate was being ramped down during the federal test

procedures as the efficiency of the SCR system improved and the engine warmed up

 

' Some of the emails quoted in this First Superseding Indictment have been
translated from Italian to English.

19

 
 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1618 Filed 03/03/21 Page 20 of 49

 

— which led PASINI to proclaim, “Nice []! We will ‘baptize’ t-engine as an
efficiency factor of the SCR system.”

49. Eventually, PALMA, PASINI, SABBIONI, and their co-conspirators
decided to not even try to falsely justify the T_Eng function and the impact it had on
the EGR rate in the Applications submitted to FCA’s Regulators, choosing instead
to simply not disclose the T Eng function at all. In an email sent in June 2013 as
FCA was preparing the Applications for the Subject Vehicles, a co-conspirator
emailed PALMA, PASINI, their co-conspirators, and others to discuss this new
strategy, writing, “[I]n the CERT docs tEngine is not mentioned, since if CARB
found [out] about that it would be probably considered as cycle beating. On the
other side, the cert docs need to reflect the actual enable conditions, so even not
mentioning explicitly t engine we could get questions and maybe they could [find
out] about it.” The next day, PALMA wrote to PASINI, their co-conspirators, and
others, “I would like to have the strategy active but I don’t want to disclose the t
engine[.]”

50. In another email sent in June 2013 as FCA was preparing the
Applications for the Subject Vehicles, a co-conspirator emailed PALMA, PASINI,
and others, writing, “[A]|ttached [is] the latest revision of the AECD with the riew
cal[ibration].... The only strategies mentioned for the EGR are correction based

on environmental temperature and pressure, nothing that in my opinion could put us
 

 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1619 Filed 03/03/21 Page 21 of 49

in trouble. Other than that, we are discussing mainly shut off conditions. There’s
no mention of the t engine in the AECD.”

51. Even after submitting an Application for the Subject Vehicles,
PALMA, PASINI, SABBIONI, and their co-conspirators continued to mislead
FCA’s Regulators by concealing both the T_Eng function and the manner in which
they were manipulating the EGR rate “off cycle.”

52. For example, the Subject Vehicles initially included T_Eng as an input
condition to several OBD monitors, meaning that the OBD system had been
calibrated to use T_Eng to determine whether the vehicle was working properly.
However, because OBD monitor input conditions were required to be disclosed to
FCA’s Regulators, PALMA, PASINI, SABBIONI, and their co-conspirators
implemented software changes to remove T_Eng as an OBD monitor input condition
solely to avoid potential disclosure of T Eng in FCA’s OBD certification
documents. In March 2014, PALMA explained this strategy in an email he sent to
PASINI, SABBIONI, their co-conspirators, and others, writing, “MY15 current cal
has tEng as an enable condition for RHU, all the enable conditions should be
disclosed in the cert docs. tEng is not disclosed in the MY14/15 docs and that
shouldn’t be changed[.]”

Deceptive and Fraudulent Conduct to Conceal the Emissions Impact and Function
of Online Dosing

53. PALMA, PASINI, SABBIONI, and their co-conspirators calibrated

21

 
 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1620 Filed 03/03/21 Page 22 of 49

and caused to be calibrated the Online Dosing mode so that it would not activate
during the federal test procedures, meaning that the Subject Vehicles were always
in Standard Dosing mode during the portion of the federal test procedures that tested
the Subject Vehicles’ emissions.

54. The reason for using two different DEF dosing modes in the SCR
system of the Subject Vehicles was to reduce DEF consumption “off cycle,” with
the associated increase in NOx emissions occurring “off cycle,” as described in an
email sent by one of PALMA’s, PASINI’s, and SABBIONI’s co-conspirators:

In brief, there are two strategies for injecting urea in the SCR: standard
dosing and online dosing.

Standard dosing is what you do on cycle to obtain maximum NOx
conversion efficiency.

In theory, online dosing is used under particular conditions (e.g.: very
high SCR temperatures) in which we know that the exhaust is not as
efficient as it should be. So if we inject based on standard dosing
under these conditions, the urea would not convert the NOx but would
escape from the SCR (urea slip). In reality, we use online dosing as
soon as we can off-cycle to consume less urea.

55. PALMA, PASINI, SABBIONI, and their co-conspirators were
concerned that FCA’s Regulators would not find their goal of reducing DEF
consumption to make the Subject Vehicles more attractive to FCA’s potential
customers to be a valid or appropriate justification for increasing NOx emissions

“off cycle.” In February 2013, PALMA acknowledged these concerns in an email

he sent to PASINI, their co-conspirators and others, writing, “DEF consumption is

22 |

 
 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1621 Filed 03/03/21 Page 23 of 49

a functional objective, dealing with CARB/EPA is clearly a higher level priority.
In other words we cannot say we run very low dosing ‘off cycle’ because we want
to meet the agreed refill change interval.”

56. Due to these concerns, PALMA, PASINI, SABBIONI, and their co-
conspirators began to discuss potential false and fraudulent excuses they could use
with FCA’s Regulators to justify their Online Dosing strategy. One such false and
fraudulent justification for using Online Dosing to control DEF consumption
discussed by PALMA, PASINI, SABBIONI, and their co-conspirators was to tell
FCA’s Regulators that the Online Dosing mode was being used to prevent a
condition they called “ammonia slip,” or “NH; slip,” meaning that the DEF solution
could pool and ultimately leak out of the tail pipe of the vehicle.

57. For example, in May 2012, PALMA and PASINI received an email
with the subject “ADBLUE CONSUMPTION,” in which a proposal was discussed
to simultaneously reduce SCR dosing and the EGR rate in the Subject Vehicles
during “off cycle” conditions. PALMA responded by asking, “[H]ow do we
explain to EPA/CARB that we close the EGR and reduce dos[ing] at high speed? It
will never fly[.]” In response, one of PALMA’s, PASINI’s, and SABBIONI’s co-
conspirators wrote that they could tell FCA’s Regulators that the “(official) purpose
for reducing EGR is to lower temperature at the Inlet Manifold. Lowering AdBlue

will be explained as a protection against NH3 leaks (very probable at high NOx

23 |

 

 
Ee
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1622 Filed 03/03/21 Page 24 of 49

concentration, high volume of exhaust gases, and high temperatures).”

58. However, testing of the SCR system used on the Subject Vehicles,
which was conducted in late February and early March 2013 and provided to
PALMA, PASINI, and their co-conspirators, showed no evidence of NH; slip in
either Standard Dosing or Online Dosing modes.

59. In fact, PALMA himself acknowledged to PASINI, SABBIONI, their
co-conspirators, and others that FCA considered the Online Dosing strategy
“borderline as it’s not justified by a real need other than to minimize the [DEF]
consumption.”

60. PALMA and other co-conspirators even discussed that Online Dosing
was potentially a defeat device. In March 2013, PALMA and other co-conspirators
circulated via email a 14-year-old press release regarding an $83.4 million settlement
between diesel-engine manufacturers and the EPA for “illegal ‘defeat devices,’
which allow an engine to pass the EPA emissions test, but then turn off emission —
controls during highway driving.” In the email circulating the press release, one of
PALMA’s, PASINI’s, and SABBIONI’s co-conspirators simply wrote, “Speaking
of online dosing . . .”

61. Eventually PALMA, PASINI, SABBIONI, and their co-conspirators
decided to not even try to falsely justify the Online Dosing function to FCA’s

Regulators, choosing instead to simply conceal its existence by not disclosing the

24
 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1623 Filed 03/03/21 Page 25 of 49

Online Dosing function at all.

62. PALMA, PASINI, SABBIONI, and their co-conspirators also made
false and misleading representations in the Applications submitted by FCA to FCA’s
Regulators in 2014, 2015, and 2016, about whether the SCR system as calibrated
was capable or even designed to compensate for the increase in NOx emissions
caused by a decrease in disclosed EGR rates.

Deceptive and Fraudulent Conduct to Conceal the Emissions Impact and Function
of the Valve Train Cleaning Routine

 

 

63. The valve train cleaning routine was a timer-based software strategy |
used on the Subject Vehicles that initiated after 30 minutes of engine operation to
shut off the EGR system for five minutes.

64. PALMA, PASINI, SABBIONI, their co-conspirators, and others,
implemented the valve train cleaning, routine in or around July 2013, after they
encountered an issue related to engine shudder in the Subject Vehicles, which caused
the vehicles to noticeably shake. VM identified the cause of the engine shudder as
an accumulation of soot deposits on the exhaust valve stems, which could cause the
valves to close too slowly, or become stuck all together, and determined that running
the engine with the EGR rate reduced to zero corrected the shudder problem.

65. Onor about July 11, 2013, SABBIONI emailed PALMA and told him
that “[w]e have to find a clearing routine to put into production that allows us every

day to run a couple of minutes in normal with egr off or almost[.]” PALMA then

25

 
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1624 Filed 03/03/21 Page 26 of 49

forwarded the email to PASINI, their co-conspirators, and others, explaining that a
possible option to implement such a routine could be achieved with a timer “that we
could calibrate to avoid an impact on the emission cycles, clearly it remains to be
seen how to sell it to EPA/CARB.”

66. On or about July 13, 2013, PASINI proposed setting the activation
timer for the valve train cleaning routine at 30 minutes, in order to avoid the
possibility that the routine would run during any portion of the federal test
procedures. The 30-minute activation time was explained in an email sent to
PALMA from PASINI as representing the longest time the engine would be on the
driving “cycle” for certification purposes, which was a total of 1545 seconds, plus a
“10% safety margin,” which totaled 28 minutes. PASINI concluded, “This means
that for any driving cycle (key on) longer than 28 [minutes] (I would set it to 30
[minutes]) the egr can be closed for... . tbd[.]”

67. Following the implementation of the valve train cleaning routine,
PALMA, PASINI, SABBIONI, and their co-conspirators learned that the SCR’
system was consistently in Online Dosing mode during the routine, which could
significantly reduce the SCR system’s ability to neutralize the additional NOx
generated from the complete closure of the EGR system. As one of PALMA’s,
PASINI’s, and SABBIONI’s co-conspirators explained in July 2013, “Obviously,

if you close the EGR and do more NOx and you are in online dosing, there is no

26

 
 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1625 Filed 03/03/21 Page 27 of 49

hope that the extra NOx you do gets consumed by the SCR...”

68. In an effort to obtain approval from FCA’s Regulators for the MY15
Subject Vehicles, PALMA, PASINI, and SABBIONI caused FCA to provide false
and misleading information in response to questions from CARB about the valve
train cleaning routine. For example, when CARB asked why the routine did not
initiate until 30 minutes after the engine started, PALMA caused FCA to falsely
state that “the time to initiate this cleaning routine [was] based on the time to fully
warm the engine[,]” and that FCA “sampled various startup coolant temperatures
and driving cycles to determine the optimum time to enable the cleaning routine.”

69. PALMA also participated in a meeting with CARB to discuss the valve
train cleaning routine on October 7, 2014. Prior to the meeting, PALMA prepared
data regarding the emissions impact of the routine when it was run on one of the
federal test cycles, which was shared with CARB. An explanation accompanying
the data claimed that due to increases in SCR dosing when the valve train cleaning
routine activated, the data showed “no extra tailpipe NOx while EGR is off due to
SCR compensation activity.” However, neither the data, nor the narrative,
disclosed the existence of Online Dosing, and its negative impact on the SCR
system’s ability to compensate for the increase in NOx emissions when the valve
train cleaning routine was run “off cycle.”

70. After receiving PALMA’s false explanation regarding the timing of the

27
 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1626 Filed 03/03/21 Page 28 of 49

routine’s initiation and misleading emissions data, CARB approved the application
for the MY15 Subject Vehicles.

71. On or about September 27, 2015, PALMA conducted emissions testing
based on a protocol he designed to simulate road emissions, which included the test
vehicle running continuously for more than 35 minutes. PALMA shared the results
of that testing internally at FCA, including with PASINI, which PALMA explained
showed that NOx emissions were “clearly higher” when the valve train cleaning
routine was running. However, when PALMA, PASINI, SABBIONI, and their
co-conspirators disclosed the valve train cleaning routine to the EPA in or around
November 2015, they falsely claimed and caused others to falsely claim that “the
NOx emission level of the vehicle is not expected to increase.”

Deceptive and Fraudulent Conduct Related to FCA’s Customers

72. Having obtained the necessary authorization from FCA’s Regulators to
sell the Subject Vehicles in the United States, PALMA, PASINI, SABBIONI, and
their co-conspirators caused the Subject Vehicles to be marketed to FCA’s potential
customers through false and misleading statements about the Subject Vehicles,
including that they used fuel efficient “clean EcoDiesel engine[s]” that reduced
emissions and were environmentally-friendly. FCA’s marketing strategy for the
EcoDiesel included targeting “green-conscious” customers by touting the fuel

efficiency of the Subject Vehicles and claiming that the Jeep Grand Cherokee

28

 
 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1627 Filed 03/03/21 Page 29 of 49

EcoDiesel was the “cleanest diesel” engine in its class) PALMA, PASINI,
SABBIONI, and their co-conspirators knew that these representations were false
and misleading, that FCA’s diesel vehicles were polluting the environment in
violation of federal regulations, and that the authorization to sell the Subject
Vehicles had been obtained, in part, through false and misleading misrepresentations
they had made to FCA’s Regulators.

Deceptive and Fraudulent Conduct During Meetings with FCA’s Regulators |

 

73. In or around September 2015, the EPA notified FCA that it would
perform additional emissions testing “using driving cycles and conditions that may
reasonably be expected to be encountered in normal operation and use, for the
purpose of investigating a potential defeat device.”

74. PALMA began assisting FCA with its response to the EPA testing,
including by drafting written responses to EPA questions, gathering and presenting
emissions data, and attending meetings and answering questions from the EPA about
the emissions control system used on the Subject Vehicles. PASINI also assisted
FCA by providing information that FCA used to submit written responses to EPA
questions.

75. PALMA made and caused to be made false and misleading
representations to the EPA, including false and misleading misrepresentations about

the purpose, function, and emissions impact of (a) T_Eng, (b) “Online Dosing,” and

29

 
 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1628 Filed 03/03/21 Page 30 of 49

(c) the valve train cleaning routine. For example, in preparation for a meeting that
was held on or about June 29, 2016 between FCA and FCA’s Regulators, PALMA
assisted in the preparation of a PowerPoint presentation, including by drafting
specific slides, that purported to explain the reasons why certain emissions control
functions had been used in the Subject Vehicles, including T_ Eng, Online Dosing,
and the valve train cleaning routine (“the PowerPoint Presentation”). During the
meeting, which PALMA attended, numerous false and misleading representations
which were contained within the PowerPoint Presentation were given to FCA’s
Regulators, including that:

a. T Eng was a proxy for SCR temperature, based on experience with
previous engine development and existing software module;

b. Online Dosing was utilized to reduce risk of ammonia slip and to
protect the catalyst from condensed (liquid) ammonia;

c. Online Dosing was activated to deplete the catalyst and avoid ammonia
slip under conditions where additional DEF dosing would only
marginally improve NOx conversion efficiency;

d. the initiation of the valve train cleaning routine 30 minutes after the
start of the engine was based on “engineering judgment to balance
risks;”

e. the valve train cleaning routine lasts five minutes based on testing; and

30

 

 
 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1629 Filed 03/03/21 Page 31 of 49

f. the SCR effectively controls NOx emissions during a substantial
portion of normal driving during the valve train cleaning routine.
76. During the June 29, 2016 meeting, PALMA also personally provided
false and misleading representations in response to several questions from FCA’s
Regulators, including that the valve train cleaning routine was initiated after 30

minutes based on testing and analysis.

Il. THE CHARGES
COUNT I

Conspiracy to Defraud the United States and Violate the Clean Air Act
(18 U.S.C. § 371)

77. Paragraphs 1 through 76 of this First Superseding Indictment are
realleged and incorporated by reference as though fully set forth herein.

78. From at least in or about 2010 and continuing through at least in: or
about April 2017, in Oakland County, within the Eastern District of Michigan, and
elsewhere, the defendant EMANUELE PALMA, SERGIO PASINI, and
GIANLUCA SABBIONI, and others known and unknown to the Grand Jury, did
knowingly, intentionally, and willfully combine, conspire, and confederate and did
agree to:

a. defraud the United States by impairing, impeding, obstructing, and
defeating a lawful function of the federal government, that is, the U.S.

EPA’s function of implementing and enforcing emissions standards for

31

 
 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1630 Filed 03/03/21 Page 32 of 49

air pollutants for new motor vehicles under the Clean Air Act, by
deceitful and dishonest means, in violation of 18 U.S.C. § 371; and

b. violate the Clean Air Act, by making, and causing to be made, false
material statements, representations, and certifications in, and omitting
and causing to be omitted material information from, notices,
applications, records, reports, plans, and other documents required
pursuant to the Clean Air Act to be filed and maintained, in violation of
42 U.S.C. § 7413(c)(2)(A).

THE PURPOSE OF THE CONSPIRACY

79, The purpose of the scheme to defraud the United States and violate the
Clean Air Act was for PALMA, PASINI, SABBIONI, and their co-conspirators to
(a) make and cause others to make false and misleading representations to FCA’s
Regulators in order to obtain regulatory approval to sell the Subject Vehicles in the
United States; and (b) as a direct result, enrich themselves through the continued

receipt of compensation and other benefits.

MANNER AND MEANS OF THE CONSPIRACY

80. The Grand Jury realleges and incorporates by reference paragraphs 37
through 76 as a description of the manner and means of the conspiracy.

OVERT ACTS

81. In furtherance of the conspiracy and to achieve its objects and purpose,

at least one of the co-conspirators committed and caused to be committed, in the

32

J
 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1631 Filed 03/03/21 Page 33 of 49

Eastern District of Michigan, and elsewhere, at least one of the following overt acts,
among others:

82. Onor about December 19, 20 1, PALMA provided a plan to increase
fuel efficiency in the Subject Vehicles by implementing a vehicle speed correction
to EGR that would not affect the federal test procedures and by implementing T_Eng
into the calibration.

83. On or about January 8, 2012, SABBIONI sent an email to PALMA,
PASINI, their co-conspirators, and others acknowledging that T_ Eng was being
used as cycle detection, suggesting justifying T Eng as “optimization of engine
operations during warm-up,” and giving instructions not to call T_Eng “cycle
recognition.”

84. On or about May 27, 2013, PASINI sent an email to PALMA, writing,
“So we have the solution: a lot of cycle recognition with t_engine[.] It’s Just a
question of understanding if we are to be sent home, or if SABBIONI is to go to jail:
I would say the 2nd.”

85. Onor about June 18, 2013, a co-conspirator sent an email to PALMA,
PASINI, their co-conspirators, and others writing, “[I]n the CERT docs tEngine is
not mentioned, since if CARB found [out] about that it would be probably
considered as cycle beating. On the other side, the cert docs need to reflect the

actual enable conditions, so even not mentioning explicitly t engine we could get

33
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1632 Filed 03/03/21 Page 34 of 49

questions and maybe they could [find out] about it.”

86. Onor about June 19, 2013, PALMA sent an email to PASINI and their
co-conspirators writing, “I would like to have the strategy active but I don’t want|to
disclose the t engine [to FCA’s Regulators].”

87. Onor about July 28,2013, aco-conspirator sent an email to PALMA,
PASINI, and other co-conspirators, discussing the accuracy of the AECD
disclosures that were being submitted to FCA’s Regulators, which said, “I am
convinced we all know what is written in the AECD is not transparent]. |”

88. On or about March 10, 2014, a co-conspirator sent an email to

PALMA, their co-conspirators and others proposing a software change in the OBD

| system used on the Subject Vehicles in order to avoid disclosing T_ Eng to FCA’s

Regulators.

89. Onor about October 1, 2014, in response to a question asking why FCA
waited 30 minutes to run the valve train cleaning routine, PALMA caused FCA to
falsely tell CARB it “chose the time to initiate this cleaning routine based on the
time to fully warm the engine.”

90. On or about October 7, 2014, PALMA caused FCA to email to CARB
emissions data related to the valve train cleaning routine, and described it as
depicting “no extra tailpipe NOx while EGR is off due to SCR compensation

activity.”

34
 

 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1633 Filed 03/03/21 Page 35 of 49

91. Onor about December 23, 2014, PALMA, PASINI, and SABBIONI
caused FCA to submit to FCA’s Regulators the final MY14 Common Application
for the Subject Vehicles that contained false and misleading representations.

92. On or about February 26, 2015, PALMA, PASINI, and SABBIONI
caused FCA to submit to FCA’s Regulators the initial MY16 Common Application
for the Subject Vehicles that contained false and misleading representations.

93. Onor about November 17, 2015, PALMA, PASINI, and SABBIONI
caused FCA to submit to FCA’s Regulators an AECD list for the MY14 Subject
Vehicles that contained false and misleading representations.

94. Onor about November 23, 2015, PALMA, PASINI, and SABBIONI
caused FCA to submit to FCA’s Regulators an AECD list for its MY16 COC
application that contained false and misleading representations.

95. Onor about November 24, 2015, PALMA, PASINI, and SABBIONI
caused FCA to submit to FCA’s Regulators an AECD list for its MY15 COC
application that contained false and misleading representations.

96. On or about November 25, 2015, PALMA participated in a meeting
with the EPA where he concealed the function and emissions impact of T Eng and

Online Dosing, and claimed that the valve train cleaning routine had no impact on

emissions.

97. On or about March 4, 2016, PALMA, PASINI, and SABBIONI

35

 
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1634 Filed 03/03/21 Page 36 of 49
\ i

caused FCA to submit to FCA’s Regulators the final MY15 Common Application
for the Subject Vehicles that contained false and misleading representations.

98. On or about June 29, 2016, PALMA caused FCA to make false and
misleading representations to FCA’s Regulators, including that T Eng was a
“proxy” for SCR temperature, that Online Dosing was utilized to reduce the risk of
ammonia slip, and that the timing of the valve train cleaning routine was based on
engineering judgment and testing.

99. On or about April 21, 2017, PALMA and PASINI caused FCA to
submit a response to one of the EPA’s requests for information about the Subject
Vehicles that contained material misrepresentations and omissions about T_Eng.

All in violation of Title 18, United States Code, Section 371.

COUNTS II THROUGH VII
Violations of the Clean Air Act (42 U.S.C. § 7413(c)(2)(A))

100. Paragraphs 1 through 76 and 82 through 99 of this First Superseding
Indictment are realleged and incorporated by reference as though fully set forth
herein.

101. On or about the dates specified as to each count below, in Oakland
County, within the Eastern District of Michigan, and elsewhere, the defendants
EMANUELE PALMA, SERGIO PASINI, and GIANLUCA SABBIONF, aided

and abetted by others known and unknown, did knowingly make and cause to be

made, false material statements, representations, and certifications in, and omit and

36
OO a a
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1635 Filed 03/03/21 Page 37 of 49

cause to be omitted material information from, and knowingly altered, concealed,

and failed to file and maintain, notices, applications, records, reports, plans, and

 

 

 

 

 

 

 

with the EPA.
Count Approximate Title of Document as Submitted

Date

2 December 23, | 2014 MY Common Final-Application for
2014 Certification-Final End of Model Year Application

February 26 Application to EPA Model Year 2016 for the Jeep
3 015 > | Grand Cherokee Diesel and Ram 1500 Diesel (Test
Group GCRXT03.05PV)

4 November 17, | 2014MY Certification Support Document for
2015 AECD Information

5 November 23, | MY2016 Certification Support Document for
2015 AECD Information

6 November 24, | 2015 MY Certification Support Document for
2015 AECD Information

7 March 4, 2016 | 2015 MY Common Final Application

 

 

 

 

 

All in violation of 42 U.S.C. § 7413(c)(2)(A) and 18 U.S.C. § 2.

COUNT VIII
Conspiracy to Commit Wire Fraud (18 U.S.C. § 1349)

102. Paragraphs 1 through 76 and 82 through 99 of this First Superseding
Indictment are realleged and incorporated by reference as though fully set —

other documents required pursuant to the Clean Air Act to be filed and maintained
herein.
|

103. From at least in or around 2010 through at least in or around September
2017, in Oakland County, within the Eastern District of Michigan and elsewhere,

the defendant EMANUELE PALMA, SERGIO PASINI, and GIANLUCA

37
 

|
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1636 Filed 03/03/21 Page 38 of 49

SABBIONI, and others known and unknown to the Grand Jury, did knowingly,
intentionally, and willfully combine, conspire, and confederate and did agree to
commit wire fraud, that is, to knowingly, willfully, and with the intent to defraud,
having devised and intending to devise a scheme and artifice to defraud and to obtain
money and property by means of materially false and fraudulent pretenses,
representations, and promises, transmit and cause to be transmitted by means of
wire, radio, and television communication, writings, signs, signals, pictures,’ and
sounds in interstate and foreign commerce for the purpose of executing such scheme
and artifice, in violation of 18 U.S.C. § 1343. .

THE PURPOSE OF THE CONSPIRACY |

104. The purpose of the conspiracy was for PALMA, PASINI, SABBIONI,
and their co-conspirators to obtain money and property for FCA through the
production and sale of Subject Vehicles that they knew did not comply with EPA
rules and regulations governing emissions by (a) making and causing others to make
material misrepresentations to FCA’s Regulators, and (b) making and causing others
to make material misrepresentations to purchasers and potential purchasers of the
Subject Vehicles. |

MANNER AND MEANS

The Co-Conspirators Deceived the EPA
in Order to Increase Potential Sales of the Subject Vehicles

105. PALMA, PASINI, SABBIONI, and their co-conspirators understood

38
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1637 Filed 03/03/21 Page 39 of 49

that a goal of the 3.0-liter diesel engine program was to obtain EPA-certified fuel
efficiency that would allow the Subject Vehicles to be marketed and sold. to
consumers as “best-in-class” fuel efficiency, and that the purpose of obtaining “best-
in-class” fuel efficiency was to increase potential sales of the Subject Vehicles ‘by
making the vehicles more attractive to potential consumers. PALMA, PASINI,
SABBIONL and their co-conspirators further understood that if they failed to obtain
an EPA-certified fuel efficiency that achieved “best-in-class” fuel efficiency, such
failure could jeopardize the 3.0-liter diesel program, because the marketing and sale
of the Subject Vehicles would be impeded significantly absent such a fuel-efficiency
certification.

106. For example, on or about January 29, 2012, PALMA forwarded a
presentation containing FCA’s review of VM’s progress on the Jeep Grand
Cherokee to PASINI and SABBIONI. The first slide in the presentation noted
there were “Major Program Concerns” that included fuel economy. The
presentation contained an “Engine Performance Scorecard” that identified major
aspects of the program and VM’s status in delivering on those aspects. The
scorecard included VM’s delivery of a “fuel consumption adjusted label” of 30 mpg,
which contained a large red X next to the metric. The scorecard further noted that
VM was “behind/not confident” in its ability to deliver a 30-mpg fuel efficiency

label, identifying that failure as a “critical risk item.”

39

 
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1638 Filed 03/03/21 Page 40 of 49

107. Similarly, PALMA, PASINI, SABBIONI, and their co-conspirators
understood that a goal of the 3.0-liter diesel engine program was to maintain a DEF
refill interval of 10,000 miles that matched the standard oil change interval so that
consumers would not be required to schedule additional service appointments to
maintain the SCR system, and that the purpose of this program goal was to increase
potential sales of the Subject Vehicles by making the vehicles more attractive to
potential consumers.

108. PALMA, PASINI, SABBIONI, and their co-conspirators agreed that
using “cycle beating” strategies to deceive the EPA and potential customers was
necessary to obtain the fuel economy and the DEF 10,000 mile interval maintenance
objectives, both of which were critical to successfully marketing and selling the
Subject Vehicles in the U.S. market. For example, in February 2012, after a co-
conspirator raised concerns about who would bear the cost of software changes
necessary to implement and conceal T_Eng, PALMA replied, “[W]e’ll go to [FCA]
saying: that’s what you need if you want 30 mpg.” And on or about July 17, 2014,

an FCA employee asked PALMA what the effect would be of removing T_Eng from

| the Subject Vehicles’ calibration. PALMA responded that the “[Fuel Efficiency]

impact is probably around 2 mpg highway.” PALMA forwarded this exchange to
PASINI, their co-conspirators, and others, and wrote, “tEng is the only way to get

to 30 mpg, so don’t worry about this topic.”

40
RE
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1639 Filed 03/03/21 Page 41.0f 49

109. Finally, PALMA, PASINI, SABBIONI, and their co-conspirators also
used “cycle beating” strategies to address concerns with poor vehicle performance
that were jeopardizing FCA’s ability to sell the Subject Vehicles. For example, in
May 2013, PALMA, PASINI, SABBIONI, and their co-conspirators learned of
driver complaints that the Jeep Grand Cherokee was badly misfiring. On or about
May 10, 2013, SABBIONI emailed PASINI and another VM employee regarding
the misfire issue, noting it was affecting “virtually all” of the Jeep Grand Cherqkee

users. SABBIONI described it as a “very critical situation” that was so severe “(the

boss) believes that the vehicle cannot be sold.”
110. SABBIONI told PASINI that they had “until May 30 to find an issue-
free cal[ibration]” and described a plan to address the misfiring that included “the
smart use of tengine (not declared to CARB)” as a way to “avoid the big problem|[.]”
SABBIONI concluded by pleading “If you have extreme ideas, this is the time[.]”
111. PALMA, PASINI, SABBIONI, and their co-conspirators then used
T_Eng as a “cycle beating” tool to address the driver-identified misfire issue and
remedy the problem that had potentially rendered the vehicles unsellable.
PALMA, PASINI, SABBIONI, and their co-conspirators understood that the use
of T Eng to address this issue was improper and could lead to criminal penalties.
For example, on or about May 27, 2013, PASINI emailed PALMA, “So we have

the solution: a lot of cycle recognition with t_engine[.] It’s just a question of

 

41
 

 

I

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1640 Filed 03/03/21 Page 42 of 49

understanding if we are to be sent home, or if SABBIONT is to go to jail: I would
say the 2nd.”

112. After agreeing that the solution to the driver-identified problem. of
misfire was “a lot of cycle recognition” with T Eng, PASINI emailed a co-
conspirator and another VM employee on or about May 28, 2013, instructing them
to “push to the cycle beating obsessively[.]” Andon or about June 1, 2013, PASINI
emailed PALMA and a co-conspirator, writing that “cycle beating” was “the only
way for this cal[ibration] not to smoke.”

The Co-Conspirators Recognized that Their Deception Would Ultimately Harm
Purchasers of the Subject Vehicles

| 113. PALMA, PASINI, SABBIONI, and their co-conspirators discussed
that without deceiving the EPA through “cycle beating,” FCA would not have even
been able to produce and sell the Subject Vehicles to consumers. For example, on
or about October 25, 2013, when a VM employee complained about the excessive
use of T_Eng in the calibration, one of the co-conspirators responded to PALMA
and PASINI, writing, “I don’t know if he realizes that the engine is under production
today (but not without difficulties) just because we have the tEngine.”
114. However, PALMA, PASINI, SABBIONI, and their co-conspirators
also understood and agreed that their use of cycle-beating strategies, including
T Eng and Online Dosing, to pass EPA emissions testing would ultimately hurt

purchasers of the Subject Vehicles because they would not be paying for either a

42
 

|
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1641 Filed 03/03/21 Page 43 of 49

well-designed or fully-tested vehicle.

115. For instance, on or about June 11, 2014, PALMA emailed PASINI and
another co-conspirator, describing how their calibration was causing a purchaser of
the Subject Vehicles to experience consistent problems and error codes, including
problems related to cleaning the diesel particulate filter through a process known as
“regeneration.” PALMA acknowledged that “cal[ibration] artifices don’t pay, not
(just) because of a so-called ethical question.” PASINI responded, “Unfortunately,
there will always be the unlucky customer who will have the misfortune of using our
loser cal[ibration].” PASINI further explained, “[W]e have already said it a
thousand times, every time we pull the blanket to cover something we uncover
something else.”

116. PALMA and PASINI even discussed that they had no idea how much
purchasers of the Subject Vehicles were polluting when driving the cars because
they had never fully tested the impact of their “cycle beating” strategies on
emissions. For example, on or about October 3, 2014, PASINI emailed PALMA
asking what justifications they might use for the valve train cleaning routine in
responding to an inquiry from CARB. PALMA responded to PASINI that “CARB
doesn’t give a fuck: it’s not that you can drive around Los Angeles with a closed egr
because you have a weak valvetrain! Especially if you don’t even know how much

more you’re polluting.”

43
a
Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1642 Filed 03/03/21 Page 44 of 49

The Co-Conspirators Caused the Subject Vehicles To Be Sold to Consumers as
EPA-Certified Vehicles with High Fuel Efficiency and Low Emissions

117. At least as early as January 2013, FCA began marketing the Subject
Vehicles to the public, relying on the EPA-certified fuel efficiency PALMA,
PASINI, SABBIONI and their co-conspirators obtained through “cycle beating” to
advertise the vehicles as having “best-in-class” fuel efficiency and using “clean”
EcoDiesel engines. In addition, the Subject Vehicles were also sold with labels
affixed to their windows, which stated that the vehicles were “manufactured to meet .
specific United States requirements” and contained “EPA/DOT Fuel Economy and
Environment” information, including the Subject Vehicles’ EPA certified fuel
economy ratings and emissions information, which were determined using EPA
federal test procedures. Such representations and labels were material to customers
who ultimately purchased the vehicles.

118. Beginning in or about January 2013, FCA released dozens of
advertisements over interstate wires marketing the Subject Vehicles as having “best-
in-class” fuel efficiency and “clean” Eco-Diesel engines. For instance, on or about
January I5, 2013, FCA’s Jeep brand posted an article on the world wide web
introducing consumers to the 2014 Jeep Grand Cherokee. The article highlighted
that “[o}ne of the most noteworthy and, to be sure, talked-about additions for 2014
is the new, clean, 3.0-liter EcoDiesel V-6 engine that delivers best-in-class 30 miles

per gallon and a driving range of more than 730 miles.”

44
 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1643 Filed 03/03/21 Page 45 of 49

119. By as early as March 2013, PALMA, PASINI, SABBIONIL, and their
co-conspirators received information that FCA was marketing the Subject Vehicles
to consumers as having “clean” EcoDiesel engines with “best-in-class” fuel
efficiency. For instance, on or about March 21, 2013, PALMA received an email
invitation to a public event for the 2014 Jeep Grand Cherokee EcoDiesel. The email
invitation touted the Jeep Grand Cherokee as “completely redefin[ing] the premium
SUV” by, among other things, delivering “best-in-class fuel economy” and “clean-
diesel technology.”

120. Similarly, on or about June 18, 2014, SABBIONI received a
PowerPoint that included information on the development of the Jeep Grand
Cherokee. The PowerPoint noted that the vehicle provided “best in class fuel
economy” and contained excerpts from U.S. media coverage of the vehicle, which
included quotations such as “The 2014 Jeep Grand Cherokee delivers a best-in-class
30 miles per gallon (mpg) highway courtesy of a new 3.0-liter EcoDiesel V6 engine
for North America[.]” |

121. PALMA, PASINI, SABBIONI, and their co-conspirators fully
understood that FCA was using the fuel efficiency targets they achieved through
“cycle beating” to market the Subject Vehicles to consumers as “best-in-class” for
fuel efficiency. For example, on or about January 30, 2014, PALMA, SABBIONI,

and others received an email informing them that the EPA had confirmed the Ram

45

 

 
 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1644 Filed 03/03/21 Page 46 of 49

1500 fuel efficiency label submitted by FCA, which showed 28-mpg highway.
PALMA forwarded this email to PASINI, their co-conspirators, and others, writing
simply: “Best in class, great job.”

122. In total, between in or about January 2013 and in or about September
2017, FCA sold more than 100,000 of the Subject Vehicles to consumers who paid
approximately $4 billion for vehicles that purportedly (a) complied with EPA rules
and regulations governing emissions and were thus fully legal to sell in the United
States, and (b) obtained “best-in-class” fuel efficiency which had been verified
through EPA-mandated testing.

123. PALMA, PASINI, SABBIONI, and their co-conspirators knew well
that these representations, which they made and caused to be made to customers and
potential customers, were false and misleading, because (a) the vehicles did not
comply with EPA rules and regulations governing emissions and (b) only obtained
“best-in-class” fuel efficiency certification through the use and concealment of
cycle-beating strategies. Customers who ultimately purchased the Subject Vehicles
have stated that the false and misleading representations were material to their
decision to purchase the vehicles.

All in violation of Title 18, United States Code, Section 1349.

COUNTS IX THROUGH X
False Statements (18 U.S.C. § 1001(a))

46
 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1645 Filed 03/03/21 Page 47 of 49

124. The Grand Jury realleges and incorporates by reference paragraphs 1
through 76 and 82 through 99 of this First Superseding Indictment as though fully
set forth herein.

125. On or about the dates specified as to each count below, in Oakland
County, within the Eastern District of Michigan, and elsewhere, the defendant
EMANUELE PALMA, in a matter within the jurisdiction of the executive branch
of the Government of the United States, to wit: the Federal Bureau of Investigation
(“FBI”), and the United States Environmental Protection Agency, Criminal
Investigation Division (“EPA-CID”), knowingly and willfully (1) falsified,
concealed, and covered up by trick, scheme, and device a material fact, and (2) made

materially false, fictitious, and fraudulent statements and representations as follows:

 

Approximate

Count Date

False Statement(s)

 

During an interview with the FBI and EPA-CID,
PALMA falsely stated that one of the reasons the
T_Eng was introduced was to contain soot emissions
and resolve “engine shudder.”

During an interview with the FBI and EPA-CID,
PALMA falsely stated that there was never an attempt
10 August 3, 2016 | to calibrate the Subject Vehicles in a way that there |
was “cycle recognition” and when the “cycle” is over
there were no longer emissions controls.

9 August 3, 2016

 

 

 

 

 

 

All in violation of Title 18, United States Code, Section 1001 (a).
THIS IS A TRUE BILL.

/s/ Grand Jury Foreperson
Grand Jury Foreperson

47

 

 
 

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1646 Filed 03/03/21 Page 48 of 49

 

SAIMA S. MOHSIN JEAN E. WILLIAMS

Acting United States Attorney Acting Assistant Attorney General

Eastern District of Michigan Environment & Natural Resources
Division

/s/ Timothy J. Wyse TODD W. GLEASON

JOHN K. NEAL Senior Trial Attorney

Chief, White Collar Crime Unit Environmental Crimes Section

Assistant United States Attorney
TIMOTHY J. WYSE

Assistant United States Attorney
Eastern District of Michigan

JOSEPH S. BEEMSTERBOER
Principal Deputy Chief, Fraud Section
Criminal Division

United States Department of Justice

HENRY P. VAN DYCK

Principal Assistant Chief |
Market Integrity and Major Frauds Unit |
KYLE W. MAURER |
JASON M. COVERT

Trial Attorneys

Dated: March 3, 2021
- |

Case 2:19-cr-20626-NGE-DRG ECF No. 64, PagelD.1647 Filed 03/03/21 Page 49 of 49

 

 

 

 

 

  

 

 

 

 

 

 

 

 

   

 

 

 

 

 

United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan
19-cr-20626 _—
it}
NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects. = Ae
oe ae
en
oF
| Companion Case Number: 5 Ean
ho Oe
ee
This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned: x =
was
Ll ves No AUSA’s Initials: 77 as
Je +
Case Title: USA v. EMANUELE PALMA, et al
County where offense occurred : Oakland
Check One: [X] Felony LJMisdemeanor LIPetty
indictment/ Infoufation --- no prior complaint.
Indictment/ information --- based upon prior complaint [Case number: ]
¥_Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].
Superseding to Case No: 19-cr-20626 Judge: NANCY G. EDMUNDS
["]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
Embraces same subject matter but adds the additional defendants or charges below:
Defendant name Charges Prior Complaint (if applicable)

D-2 SERGIO PASINI 18 U.S.C. § 1349
D-3 GIANLUCA SABBIONI

 

Please take notice that the below listed Assistant United States Attorney | is the attorney oF record for

the above captioned case.

March 3, 2021 J
Date imothy J. Wyse
Assistant United States Attorney

211 W. Fort Street, Suite 2001

Detroit, Ml 48226-3277

Phone: 313-226-9144

Fax: 313-226-2873

E-Mail address: Timothy. Wyse@usdoj.gov

Attorney Bar #:

 

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.
5/16
